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 1   Mario N. Alioto (56433)
     Joseph M. Patane (72202)
 2   Lauren C. Capurro (241151)
     TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
 3   2280 Union Street
     San Francisco, CA 94123
 4   Telephone: 415-563-7200
     Facsimile: 415- 346-0679
 5   Email: malioto@tatp.com
     jpatane@tatp.com
 6   laurenrussell@tatp.com

 7   Lead Counsel for the
     Indirect Purchaser Plaintiffs
 8

 9                                UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)            Master File No. CV-07-5944-JST
13   ANTITRUST LITIGATION
                                              MDL No. 1917
14
                                              CLASS ACTION
15
     This Document Relates to:                DECLARATION OF MARIO N. ALIOTO IN
16                                            SUPPORT OF INDIRECT PURCHASER
     All Indirect Purchaser Actions           PLAINTIFFS’ RESPONSE TO OBJECTIONS
17                                            TO JANUARY 28, 2016 REPORT AND
                                              RECOMMENDATION OF SPECIAL
18                                            MASTER RE MOTIONS: (1) TO APPROVE
                                              INDIRECT PURCHASER PLAINTIFFS’
19                                            SETTLEMENTS WITH THE PHILIPS,
                                              PANASONIC, HITACHI, TOSHIBA,
20                                            SAMSUNG SDI, TECHNICOLOR AND
                                              TECHNOLOGIES DISPLAYS AMERICAS
21                                            DEFENDANTS; AND (2) FOR AWARD OF
                                              ATTORNEYS’ FEES, REIMBURSEMENT
22                                            OF LITIGATION EXPENSES, AND
                                              INCENTIVE AWARDS TO CLASS
23                                            REPRESENTATIVES

24                                            Hearing Date: March 15, 2016
                                              Time: 2:00 p.m.
25                                            Judge: Honorable Jon S. Tigar
                                              Court: Courtroom 9, 19th Floor
26

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28    DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ RESPONSE
                  TO OBJECTIONS TO JAN. 28, 2016 R&R - Master File No. CV-07-5944-JST
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 1             I, Mario N. Alioto, declare:

 2             1.     I am an attorney duly licensed by the State of California and am admitted to

 3    practice before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott,

 4    LLP and my firm serves as Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) in the

 5    above-captioned action. I submit this Declaration in support of IPPs’ Response to Objections to

 6    the January 28, 2016 Report & Recommendation. The matters set forth herein are within my

 7    personal knowledge and if called upon and sworn as a witness I could competently testify

 8    regarding them.

 9             2.     Eleven objections on behalf of 22 objectors were originally filed. Two of the

10    objectors, Paul Palmer and Gordon Morgan, have moved to withdraw their objections. (See Dkt.

11    Nos. 4130 and 4165.) Three of the remaining objections were lodged by four attorneys who have

12    represented class members in this litigation: Josef Cooper, Francis O. Scarpulla, Robert

13    Bonsignore and Theresa Moore (the “Insider Objectors”).

14             3.     Only five requests for exclusion were received. Two of the requests for exclusion

15    were by Direct Action Plaintiffs (“DAPs”) that are already pursuing their own cases. Thus, there

16    are actually only three requests for exclusion. Copies of the exclusion letters are attached to the

17    Declaration of Joseph M. Fisher Reporting on the Class Notice Program as Exhibit Y (Dkt. No.

18    4371).

19             4.     There have been notice efforts above and beyond the formal notice program

20    approved by the Court. For example, the 83% reach does not include an e-mail campaign that I

21    arranged which resulted in the dissemination of 417,993 emails to DRAM claimants notifying

22    them of the CRT Settlements.

23             5.     Lead Counsel never instructed IPP Counsel to exclude all “in-house multi-lawyer

24    conferences.” Some such conferences were excluded by the Audit Committee during the audit of

25    IPP Counsel’s time, but only if they were judged to be “internal case management” conferences,

26    as opposed to in-house conferences about active assignments in the case.

27             6.     Certain objectors have challenged work by IPP Counsel on matters involving the

28    California Attorney General (“AG”). Throughout this litigation, IPPs tried to accommodate the
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 1    interests of the AG as best as possible, while also foremost protecting the interest of the indirect

 2    purchaser class. For example, regarding an extension of the claims submission deadline, we

 3    negotiated with the AG for several weeks, but ultimately were concerned that the extension

 4    would spur additional objections, which it did. See, e.g., Dkt. No. 4312.

 5           7.      IPPs, Philips and the AG also litigated certain issues pertaining to the approval of

 6    a settlement between the AG and Philips in a related lawsuit brought by the AG in state court.

 7    For reasons explained below, IPPs were forced to intervene in that action. Their involvement has

 8    been defensive in nature, and essential. The Special Master has stated in the R&R that “the state

 9    judge refused to issue [] an ‘advisory opinion’” “that no estoppel would result” from that

10    settlement (R&R (Dkt. No. 4351) at 65). However, further explanation is necessary. The threat

11    posed to IPPs from settlement approval was quite real.

12           8.      In May 2012—long after IPPs had initiated their litigation—the AG filed in San

13    Francisco Superior Court an antitrust action alleging claims stemming from the alleged CRT

14    price-fixing conspiracy alleged in this MDL. This action included parens patriae claims against

15    Philips Electronics North America Corporation (“PENAC”), one of the defendants named in this

16    MDL. See The State of California v. Chunghwa Picture Tubes, Ltd., No. CGC-11-515786, San

17    Francisco County Superior Court. The AG brought these claims on behalf of California “natural

18    persons.” These consumers are also represented by IPPs in the MDL.

19           9.      In November 2012, the AG moved for preliminary approval of a settlement she

20    had reached with PENAC and other Philips entities (collectively “Philips”). The settlement

21    called for a total payment of $500,000, none of which would go to consumers. In exchange, the

22    AG gave Philips releases of her claims. According to Philips, the releases extinguished not only

23    the parens patriae claims but also totally extinguished the federal class claims against it by

24    California consumers in the MDL. In short, this settlement was about to jeopardize all of the

25    rights of the California consumer class against Philips in the federal action, with no money

26    allocated to these consumers.

27           10.     On behalf of one of the representatives of the California class in this MDL, Jeffrey

28    Figone, I appeared at the hearings on settlement approval and objected to the parens patriae
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 1    settlement. Figone contended that Philips’ interpretation of the release had no support and that

 2    the settlement did not release the federal class claims. And, if the settlement did release the class

 3    claims, the settlement was unreasonable and could not be approved by the court, because Philips

 4    would have offered far too little ($500,000) for what it received. (Indeed, IPPs ultimately settled

 5    with Philips for $175 million. While that sum covers nationwide claims, the value of California

 6    claims is much greater than the $500,000 settlement amount.)

 7           11.     Figone appeared and objected before the superior court. Subsequently, the trial

 8    court granted preliminary approval and approved publication of a notice to consumers. In

 9    September 2013, Figone filed a timely objection to final settlement approval on his own behalf

10    and on behalf of all individuals residing in the State of California. A fairness hearing was held in

11    December 2013. Figone again appeared to object to the Philips settlement and asked the trial

12    court to determine the scope of the release. The trial court expressly declined to do so, approved

13    the settlement as being fair, adequate and reasonable, and entered judgment. This decision was

14    not a mere “advisory opinion.” In fact, as we have previously stated, Philips has taken the

15    position that the judgment barred the claims of California natural persons. See Dkt. No. 3034

16    (Philips summary judgment motion, stayed pending settlement approval).

17           12.     Figone appealed from the judgment. See The State of California v. Philips

18    Electronics North America Corp., California Court of Appeal, First Appellate District, Division

19    Five, No. A140908. The AG moved to dismiss the appeal on the ground that Figone was not an

20    aggrieved party and had no standing. On July 9, 2014, the Court of Appeal denied the motion,

21    because “Jeffrey Figone has shown that he is potentially bound by the judgment under the

22    doctrine of res judicata.” Capurro Decl. in support of Request for Judicial Notice, Ex. A at 1.

23    The appeal is pending but as a practical matter, proceedings are stayed in light of the pending

24    settlements.

25           13.      Chunghwa’s amnesty applicant status was not known at the time IPP Counsel

26    filed their original complaints in November 2007, and the settlement with Chunghwa did not

27    come until April 2009—a year and a half later.

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 1           14.     I have become aware that my previous declaration (Dkt. No. 4071-1 at ¶ 118)

 2    states that Lead Counsel “(e) included hours only through May 31, 2015 for IPP Counsel.” This

 3    statement is inconsistent with statements made in three contemporaneous declarations. My firm

 4    included time from inception to September 15, 2015 (See Dkt. No. 4073-1 at ¶ 6.) The firm of

 5    Sharp McQueen PA included time from inception to June 5, 2015. (See Dkt. No. 4073-17 at ¶ 6.)

 6    The firm of Kern Antitrust Global (KAG Law Group) included time from inception to July 15,

 7    2015. (See Dkt. No. 4073-7 at ¶ 6.)

 8           15.     I have made certain references to certain “serial” or “professional” class action

 9    objectors in this case (including counsel Joseph Scott St. John). I have stated that they file

10    boilerplate objections and subsequent appeals in order to extract a pay-off to drop the appeals,

11    and I have also stated that these objectors routinely represent objectors challenging class action

12    settlements by filing canned objections. Mr. St. John has brought to my attention that he has

13    never appeared as counsel for an objector before and has not engaged in the conduct I have

14    attributed to the other objectors. Accordingly, my statements shall not apply to Mr. St. John.

15           16.     On November 20, 2015, IPPs filed the Additional Declaration of Robert J.

16    Gralewski, Jr. In Support Of Indirect Purchaser Plaintiffs’ Motion For Final Approval Of Class

17    Action Settlements With Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson, And

18    TDA Defendants (“Additional Gralewski Declaration,” (Dkt. No. 4370-2).) Appendix O to the

19    Additional Gralewski Declaration is a chart highlighting certain testimony from depositions taken

20    of certain objectors. The deposition transcripts summarized in the chart are attached to the chart

21    itself. At the time the Additional Gralewski Declaration was filed, IPPs did not have copies of

22    the final deposition transcripts for Objectors Josie Saik or Elizabeth Kimberly Johnson. IPPs

23    summarized testimony from the Saik and Johnson depositions, and on page vii of Appendix O,

24    IPPs stated that they would supplement the chart with cites to the transcripts when the transcripts

25    became available. Now that the transcripts are available, IPPs submit the cites to the previously

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 1    summarized testimony as well as the true and correct pages from the transcripts. See Exhibit A,

 2    attached hereto.1

 3           17.     Attached as Exhibit B is a true and correct copy of a January 11, 2016 letter

 4    regarding treble damages from me to the Special Master.

 5           18.     Attached as Exhibit C is a true and correct copy of IPPs’ January 13, 2016

 6    response on the Chunghwa allocation of funds from me to the Special Master.

 7           19.     Attached as Exhibit D is a true and correct copy of IPPs’ February 5, 2015 letter

 8    regarding the Chunghwa allocation of funds from me to the Special Master.

 9           20.     I received a letter dated February 18, 2016 from Frank Warner, one of the former

10    named plaintiffs for whom IPPs have requested a $5,000 incentive award. In his letter, Mr.

11    Warner objects to the $5,000 incentive award and asks the Court to award $100,931.25 to each of

12    the 25 class representatives and the 15 named plaintiffs. Mr. Warner’s objection is untimely and

13    I do not believe there is any support for his request. A true and correct copy of Mr. Warner’s

14    letter is attached to the Alioto Decl. re: Response as Exhibit E.

15           I declare under penalty of perjury that the foregoing is true and correct. Executed this 2nd

16    day of March, 2016 at San Francisco, California.

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18                                                  /s/    Mario N. Alioto
                                                           Mario N. Alioto
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                                                    Lead Counsel for the Indirect Purchaser Plaintiffs
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        Upon receiving and reviewing the final transcripts, IPPs have changed a reference to Saik’s
28    testimony from “’best friends’” to “friends.”
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